

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS







NO. WR-16,909-04






IN RE DONALD R. MITCHELL, Relator







ON APPLICATION FOR A WRIT OF MANDAMUS


CAUSE NOS. 9419148-A &amp; 9419149-A 


		IN THE 209th DISTRICT COURT	FROM HARRIS COUNTY





	Per curiam.


O R D E R



	Relator has filed a motion for leave to file an application for a writ of mandamus pursuant
to the original jurisdiction of this Court.  In it, he contends that he filed applications for writs of
habeas corpus in the 209th District Court of Harris County, that more than 35 days have elapsed, and
that the application has not yet been forwarded to this Court.  Relator contends that the district court
entered an order designating issues on May 30, 2012.

	Respondent, the Judge of the 209th District Court of Harris County, shall file a response with
this Court by having the District Clerk submit the record on such habeas corpus application.  In the
alternative, Respondent may resolve the issues set out in the order designating issues and then have
the District Clerk submit the record on such application.  In either case, Respondent's answer shall
be submitted within 30 days of the date of this order.  This application for leave to file a writ of
mandamus will be held in abeyance until Respondent has submitted his response.


Filed: October 23, 2013

Do not publish	


